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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
 Case No.          CV20-11181-CAS(JPRx)                                           Date   April 19, 2021
 Title             NEMAN BROTHERS AND ASSOCIATES, INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Laura Elias                           N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Chan Jeong                                             Mark Lee
 Proceedings:                 TELEPHONE SCHEDULING CONFERENCE

      Hearing held by telephone and counsel are present. The Court confers with
counsel and schedules the following dates:

Request for leave to file amended pleadings or to add parties: June 11, 2021;
Settlement Completion Cutoff: July 31, 2021;
Factual Discovery Cut-off: November 30, 2021;
Last Day to File Motions: January 10, 2022;
Exchange of Expert Reports Cut-off: September 30, 2021;
Exchange of Rebuttal Reports Cut-off: October 31, 2021;
Expert Discovery Cut-off: November 30, 2021;
Status Conference re: Settlement (11:00 A.M.): August 9, 2021;
Pretrial Conference/Hearing on Motions in Limine (11:00 A.M.): March 14, 2022;
and Jury Trial (9:30 A.M.): March 29, 2022.

      Motions in limine shall be noticed for the same date and time of the Pretrial
Conference, and filed 28 days prior thereto. Motions in limine/oppositions shall not
exceed five (5) pages in length and no replies will be accepted.

         ADR-12 to issue.


                                                                                         00      :        19
                                                               Initials of Preparer            CMJ



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